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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                      *
                                                      *
 IN RE: STRYKER LFIT V40 FEMORAL                      *    MDL No. 17-md-2768-IT
 HEAD PRODUCTS LIABILITY                              *
 LITIGATION                                           *
                                                      *
 This document relates to:                            *
                                                      *
 The cases listed on Schedule “A”                     *
 attached hereto.                                     *



              REQUEST FOR ENTRY OF ORDERS OF TOTAL DISMISSAL
            WITH PREJUDICE OF CERTAIN RESOLVED MEMBER ACTIONS

       1.        On November 2, 2018, the Plaintiffs’ Executive Committee and Defendant

Howmedica Osteonics Corp. (“HOC”) announced the execution of a private, confidential

settlement agreement (the “Confidential Settlement”) to resolve the claims of certain eligible

claimants. [No. 889.]

       2.        Plaintiffs who elected to participate in the Confidential Settlement submitted a

stipulation of dismissal with prejudice. Those plaintiffs with lawsuits in this MDL who have

resolved their cases in their entirety through the Confidential Settlement are identified in “Exhibit

A” attached hereto.

       3.        This court has the inherent authority to enter a dismissal with prejudice in matters

pending in this MDL. See Amended Case Mgmt. Order No. 2 (Oct. 23, 2019) [No. 307]; Fed. R.

Civ. P. 41(a).

       4.        Pursuant to the terms of the Confidential Settlement, dismissal is proper at this time.

       5.        Accordingly, HOC respectfully requests that the Court grant an order dismissing

with prejudice the member actions identified in Exhibit A.
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Dated: November 5, 2019


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